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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3                                                         Case No.: 3:20-cv-00114-MMD-CSD
     FRANK M. HERNANDEZ,
 4                                                                         Order
            Plaintiff
 5                                                                Re: ECF Nos. 100, 101
     v.
 6
     PERRY RUSSELL, et al.,
 7
            Defendants
 8

 9         Plaintiff has filed a motion seeking the issuance of a summons for service on defendant

10 Lennon, so Plaintiff can attempt to serve Lennon through a private process server. (ECF No.

11 101.) Plaintiff also objects to the court’s order denying his previous request for a summons to

12 serve Lennon. (ECF No. 100.)

13         Plaintiff’s motion for a summons (ECF No. 101) is GRANTED. The Clerk shall ISSUE

14 a summons for Lennon and send it to Plaintiff so that he may attempt service on Lennon;

15 however, Plaintiff is reminded that the deadline to file a proof of service for Lennon is

16 December 21, 2022. (See ECF No. 97.) Plaintiff must file a proof of service for Lennon on or

17 before December 21, 2022, or Lennon will be dismissed without prejudice under Federal Rule of

18 Civil Procedure 4(m). In light of the court’s order, Plaintiff’s objection (ECF No. 100) to the

19 court’s previous order is MOOT.

20 IT IS SO ORDERED.

21 Dated: December 2, 2022

22                                                           _________________________________
                                                             Craig S. Denney
23                                                           United States Magistrate Judge
